                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

     Colony Insurance Company,        )              JUDGMENT IN CASE
                                      )
             Plaintiff(s),            )            3:19-cv-00534-FDW-DSC
                                      )
                 vs.                  )
                                      )
     Buckeye Fire Equipment Co.,      )
           Defendant(s).              )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s October 20, 2020 Order.

                                               October 20, 2020




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